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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiffs,         )                 4:06CR3075
                                    )
          v.                        )
                                    )
KENNETH SLOMINSKI, HAROLD           )                    ORDER
TITUS SWAN,                         )
                                    )
                Defendants.         )
                                    )



     The government’s unopposed motion for extension of time to
respond to the defendants’ pending pretrial motions, filing 34,
is granted. The government’s response shall be filed on or
before January 5, 2007.


     DATED this 26th day of December, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
